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                                    UNITED STATES DISTRICT COURT
                                                          for the
                                          Northern District of West Virginia
    BASIL AL-ASBAHI


             Plaintiff(s)
               v.                                                                       1:15-cv-144
                                                                    Civil Action No.
    THE WEST VIRGINIA UNIVERSITY BOARD OF
    GOVERNORS, et al.

                 Defendant(s)
                                      JUDGMENT IN A CIVIL ACTION
      The court has ordered that:
          Judgment award            Judgment costs         Other




    This action was:
         tried by jury          tried by judge           decided by judge




    decided by Judge Irene M. Keeley
The Court GRANTS the Defendants' 49 Motion for Summary Judgment; DENIES Al-Asbahi's 52 Motion for Partial Summary Judgment;
DISMISSES Counts I, II, III and IV of the Complaint WITHOUT PREJUDCE as they apply to the WVU Board and the official capacity
defendants, but WITH PREJUDICE as they apply to the individual capacity defendants; and DISMISSES Counts V, VI, and VII of the
Complaint WITHOUT PREJUDICE.




                                                                     CLERK OF COURT
Date:    1/30/2017                                                   Cheryl Dean Riley
                                                                     M. Hare
                                                                               Signature of Clerk or Deputy Clerk
